Case 8:21-cv-00555-SDM-CPT Document 184 Filed 07/26/22 Page 1 of 5 PageID 13121




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 DALANEA TAYLOR; TAMMY
 HEILMAN; DARLENE DEEGAN;
 and ROBERT A. JONES III,

                 Plaintiffs,
 v.                                            CASE NO.: 8:21-cv-00555-SDM-CPT

 CHRIS NOCCO, in his official
 capacity as Pasco County Sheriff,

                 Defendant.
                                         /

  UNOPPOSED MOTION FOR LEAVE TO FILE AFFIDAVIT IN SUPPORT
  OF DEFENDANT SHERIFF NOCCO’S RESPONSE IN OPPOSITION TO
   PLAINTIFFS’ CORRECTED MOTION FOR SUMMARY JUDGMENT

           Defendant Chris Nocco, in his official capacity as Pasco County Sheriff,

 requests the Court to accept the filing of the affidavit of Ross Brummett in support

 of Defendant’s Response in Opposition to Plaintiffs’ Corrected Motion for Summary

 Judgment pursuant to Federal Rule of Civil Procedure 7(b), 56 (c)(1)(a), 56(e), and

 states:

           1.    Plaintiffs filed their Corrected Motion for Summary Judgment on June

 27, 2022. (Dkt. 160). Defendant filed his Amended Motion for Summary Judgment

 on June 28, 2022. (Dkt. 161). The Court then granted the request of the parties to

 extend the deadline for responses to these motions to July 25, 2022. (Dkt. 163).
Case 8:21-cv-00555-SDM-CPT Document 184 Filed 07/26/22 Page 2 of 5 PageID 13122




       2.     Defendant filed his Response in Opposition to Plaintiff’s Corrected

 Motion for Summary Judgment on July 25, 2022. (Dkt. 182).

       3.     On July 25, 2022 Defendant attempted to obtain a signed affidavit in

 support of the Defendant’s response from Ross Brummett. Mr. Brummett previously

 provided data from the agency database that showed the number of reports during a

 given period of time and then of those, how many were marked related to a “prolific

 offender check”. The substantive information of the affidavit is contained in exhibits

 already within the record (Dkt. 120-2) and were provided to Plaintiff in a Rule 26

 disclosure on March 22, 2022. The purpose of the affidavit is to have Mr. Brummett

 explain how the data was obtained. While Mr. Brummett during his deposition

 explained how some of the data was collected, he was not specifically asked how

 the numbers contained in his affidavit were collected.

       4.     While the affidavit was prepared, it could not be signed by Mr.

 Brummett because he was at a conference in North Carolina and did not have the

 ability to have it notarized. Once that issue was discovered and prior to the filing of

 the response, Plaintiff’s counsel was notified of the issue and that Defendant would

 be seeking leave from the court. Defendant also noted on page 7, footnote 4 in his

 response that he would be filing a motion for leave to submit the affidavit of Ross

 Brummett.




                                           2
Case 8:21-cv-00555-SDM-CPT Document 184 Filed 07/26/22 Page 3 of 5 PageID 13123




       5.     Mr. Brummett’s affidavit was completed and sworn to on July 26, 2022

 using a video notary. Defendant mistakenly filed the affidavit prior to getting the

 Court’s approval. (Dkt. 183)

       6.     LOCAL RULE 3.01(G) CERTIFICATION – Pursuant to Local Rule

 3.01(g) counsel for the Sheriff contacted Plaintiffs’ Counsel who stated he

 acknowledges that it is not timely but is not opposed to Defendant’s Motion for

 Leave to File Affidavit of Ross Brummett in support of Defendant’s Response in

 Opposition to Plaintiffs’ Corrected Motion for Summary Judgment.

                            MEMORANDUM OF LAW

       In considering whether to accept a response out of time, Courts look to the

 same standards as those outlined in Federal Rule of Civil Procedure 6(b) for motions

 for extension of time. See Fisher v. Office of State Attorney 13th Judicial Circuit

 Florida, 162 Fed.Appx. 937 (11th Cir. 2006). “The Federal Rules of Civil Procedure

 allow a court to extend the time for an act to be done, even if the motion for an

 extension was filed after the deadline for the party to act, provided that the court

 finds excusable neglect. Fed. R. Civ P. 6(b)(1)(B).

       Factors determinative in a Court finding excusable neglect are: “the danger of

 prejudice to the [non-movant], the length of delay and its potential impact on judicial

 proceedings, the reason for the delay, including whether it was within the reasonable

 control of the movant, and whether the movant acted in good faith.” Shropshire v.



                                           3
Case 8:21-cv-00555-SDM-CPT Document 184 Filed 07/26/22 Page 4 of 5 PageID 13124




 Bank of America, 6:19-cv-878-Orl-37EJK, 2019 WL 12536571, at *1 (M.D. Fla.

 September 27, 2019) (citing Advanced Estimating Sys., Inc. v. Riney, 130 F.3d 996,

 997–98 (11th Cir.1997).

        “Excusable neglect encompasses all relevant circumstances regarding the

 party's tardiness”. Gupta v. U.S. Att'y Gen., No. 6:17-CV-2188-ORL-41GJK, 2018

 WL 7436131, at *2 (M.D. Fla. Apr. 9, 2018). This includes “circumstances beyond

 the party’s control.” Id. (citing Pioneer Inv. Servs. Co. v. Brunswick Assocs., 507

 U.S. 380, 388, 395 (1993)).

       Plaintiffs’ counsel was made aware of the affidavit and the subject it covers

 on the day the response was due, and the affidavit being filed one day after the due

 date does not prejudice Plaintiff nor impact judicial proceedings. Plaintiff was

 already aware of the data cited in the affidavit and had this data prior to deposing

 Mr. Brummett in this matter. Defendant made a good faith attempt to obtain the

 affidavit and when the issue was discovered, immediately notified Plaintiffs’ counsel

 by phone of the delay. Discussions with Plaintiffs’ counsel included reference to the

 Rule 26 disclosure which contained all of the data being referenced in Mr.

 Brummett’s affidavit. Defendant also dropped a footnote in the response identifying

 this issue and the subjects the affidavit would cover.

       Using the factors identified in Shropshire, the Defendant has shown excusable

 neglect and Defendant requests the Court accept the affidavit of Ross Brummett in



                                           4
Case 8:21-cv-00555-SDM-CPT Document 184 Filed 07/26/22 Page 5 of 5 PageID 13125




 support of Defendant’s Response in Opposition to Plaintiffs’ Corrected Motion for

 Summary Judgment.

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of July, 2022, I electronically
 filed the foregoing with the Clerk of the Court by using the CM/ECF system which
 will send a notice of electronic filing to the following: Ari S. Bargil, Esquire
 (abargil@ij.org), Institute For Justice, 2 S. Biscayne Boulevard, Suite 3180, Miami,
 Florida 33131; Joshua A. House, Esquire (jhouse@ij.org) and Caroline Grace
 Brothers, Esquire (cgbrothers@ij.org), Institute For Justice, 901 N. Glebe Road,
 Suite 900, Arlington, Virginia 22203; and Robert E. Johnson, Esquire
 (rjohnson@ij.org), Institute For Justice, 16781 Chagrin Boulevard, Suite 256,
 Shaker Heights, Ohio 44120.


                                        s/ Robert Holborn, Esq.
                                       THOMAS W. POULTON, ESQ.
                                       Florida Bar No.: 0083798
                                       Email: poulton@debevoisepoulton.com
                                       JEFFREY K. GRANT, ESQ.
                                       Florida Bar No.: 0091197
                                       Email: grant@debevoisepoulton.com
                                       ROBERT D. HOLBORN, II, ESQ.
                                       Florida Bar No.: 0044186
                                       Email: holborn@debevoisepoulton.com
                                       DeBEVOISE & POULTON, P.A.
                                       Lakeview Office Park, Suite 1010
                                       1035 S. Semoran Boulevard
                                       Winter Park, Florida 32792
                                       Telephone: 407-673-5000
                                       Facsimile: 321-203-4304
                                       Attorneys for Defendant Sheriff Nocco




                                          5
